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         APPENDIX H


   SUMMARY NOTICE OF
      SETTLEMENT
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                   This is a Court approved Legal Notice. You are not being sued.
                               This is not a solicitation from a lawyer.


Para el notificación en Español visite nuestro sitio web.

                United States District Court for the Northern District of California
                In re: Facebook, Inc. Consumer Privacy User Profile Litigation,
                                  Case No. 3:18-md-02843-VC
                                    [Settlement Website URL]

        NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION


  If you were a Facebook user in the United States between May 24,
   2007, and December 22, 2022, inclusive, you may be eligible for a
            cash payment from a Class Action Settlement.

What Is the Lawsuit About?
Numerous lawsuits were brought on behalf of Facebook users who allege that Facebook, Inc. (now
Meta Platforms, Inc.) shared or otherwise made accessible to third parties (including but not
limited to third-party app developers, “whitelisted” parties, business partners, advertisers, and data
brokers) user data and data about users’ friends without permission of the users whose data was
shared, and did not sufficiently monitor or enforce third-party access to or use of that data.
Settlement Class Members include all Facebook users in the United States between May 24, 2007,
and December 22, 2022, inclusive (the “Class Period”). Meta expressly denies any liability or
wrongdoing.

Who Is Part of the Settlement Class?
The Settlement Class includes all Facebook users in the United States between May 24, 2007, and
December 22, 2022, inclusive.

What Does the Settlement Provide?
If the Settlement is approved by the Court, Meta will establish a Settlement Fund of seven
hundred twenty-five million dollars ($725,000,000.00). The Settlement Fund will be used to pay
all valid claims submitted by the Settlement Class Members, as well as notice and administration
expenses, any attorneys’ fees and costs, and any Service Awards for the Settlement Class
Representatives.

How Do I Submit a Claim and Get a Cash Payment?
Claim Forms may be submitted online at [INSERT WEBSITE] by 11:59 p.m. PST on [INSERT
CLAIMS SUBMISSION DEADLINE] or printed from the Settlement Website and mailed to the
Settlement Administrator at: [INSERT ADDRESS] postmarked by [INSERT CLAIMS
SUBMISSION DEADLINE]. You may also contact the Settlement Administrator to request a Claim
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Form by telephone [INSERT PHONE NUMBER], by email [INSERT EMAIL], or by U.S. mail at
[INSERT ADDRESS].

Do I Have a Lawyer in the Case?
The Court has appointed Derek W. Loeser of Keller Rohrback L.L.P. and Lesley E. Weaver of
Bleichmar Fonti & Auld LLP to represent the Settlement Class as Class Counsel.

Your Other Options
If you are a Settlement Class Member and you do nothing, your rights will be affected, and you
will not receive a Settlement payment. If you do not want to be legally bound by the Settlement,
you must exclude yourself from it by opting out. The deadline to exclude yourself is [INSERT
OPT OUT DEADLINE].

Unless you exclude yourself, you will give up any right to sue Facebook based on the legal and
factual issues that this Settlement resolves. If you exclude yourself, you cannot get a payment from
this Settlement.

If you stay in the Settlement (i.e., do not exclude yourself), you may object to the Settlement or
Class Counsel’s fees by [INSERT OBJECTION DEADLINE]. You can give reasons why you think
the Court should not approve it. The Court will consider your views. You can’t ask the Court to order
a different Settlement; the Court can only approve or reject the Settlement. If the Court denies approval,
no Settlement payments will be sent out, and the lawsuit will continue. If that is what you want to
happen, you should object.

More information can be found in the Frequently Asked Questions and Class Action Settlement
Agreement and Release, which are available at [INSERT WEBSITE]. If you have additional
questions, you may contact the Settlement Administrator.

The Court’s Final Approval Hearing
The Court has scheduled a Final Approval Hearing at [INSERT TIME] PST on [INSERT FINAL
APPROVAL HEARING DATE]. The hearing will proceed by video conference. A link to the video
conference is at the following address: https://www.cand.uscourts.gov/judges/chhabria-vince-vc/.
Please check the Settlement Website often to confirm the date, time and location. At the Final
Approval Hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate
and whether to approve it. The Court will also consider whether to approve Class Counsel’s request
for an award of attorneys’ fees and expenses, as well as the Settlement Class Representatives’
Service Awards. If there are objections, the Court will consider them.

 This Notice is only a summary. For more detailed information about the Settlement: Please
                 call [INSERT PHONE NUMBER] or visit [INSERT WEBSITE]
